Case 2:19-bk-14989-WB         Doc 503 Filed 12/18/19 Entered 12/18/19 15:31:34       Desc
                               Main Document    Page 1 of 52


   1   Sean A. O’Keefe – SBN 122417
   2   OKEEFE & ASSOCIATES
       LAW CORPORATION, P.C.
   3   130 Newport Center Drive, Suite 140
       Newport Beach, CA 92660
   4   Telephone: (949) 334-4135
       Fax: (949) 274-8639
   5
       Email: sokeefe@okeefelc.com
   6   Special Litigation Counsel to the Debtors

   7                            UNITED STATES BANKRUPTCY COURT
   8                             CENTRAL DISTRICT OF CALIFORNIA
   9                                     LOS ANGELES DIVISION
  10

  11    In re                                       Lead Case No. 2:19-bk-14989-WB
  12    SCOOBEEZ, INC., et al.                      Chapter 11
  13                  Debtors and Debtors in        (Jointly Administered with
                      Possession.                   Case Nos. 2:19-bk-14991; 2:19-bk-14997)
  14
        Affects:                                    DEBTORS’ OPPOSITION TO MOTION
  15                                                FOR RELIEF FROM AUTOMATIC STAY
  16
               All Debtors                         OR FOR ORDER FINDING STAY DOES
                                                    NOT APPLY; DECLARATION OF SCOTT
                SCOOBEEZ, INC., only                A. SHEIKH IN SUPPORT THEREOF
  17
                SCOOBEEZ GLOBAL, INC. only
  18                                                Hearing:
  19            SCOOBUR, LLC only                   Date: January 7, 2020
                                                    Time: 10:00 a.m.
  20                                                Place: U.S. Bankruptcy Court
                                                           Courtroom 1375
  21                                                       255 East Temple Street
                                                           Los Angeles, CA 90012
  22

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Case 2:19-bk-14989-WB        Doc 503 Filed 12/18/19 Entered 12/18/19 15:31:34                  Desc
                              Main Document    Page 2 of 52


   1          Scoobeez Global (“Global”), Scoobeez, Inc. (“Scoobeez”) and Scoobur, LLC (“Scoobur”)
   2   (together the “Debtors”) hereby submit the within Opposition to the Motion for Relief from the
   3   Automatic Stay (the “Motion”) filed by Rosenthal Family Trust UTD 3/25/1988 (“Rosenthal”).
   4   This Opposition is supported by the attached Declaration of Scott A. Sheikh (the “Sheikh Decl.”).
   5                                                     I
   6                                    SUMMARY OF OPPOSITION
   7          The Motion is premised upon the following contentions: A) Rosenthal is a shareholder of
   8   Global; B) Rosenthal, Shahan Ohanessian (“Ohanessian”) and Dick Dolan (“Dolan”) (the latter
   9   are also shareholders of Global) attempted to hold a special meeting of Global’s shareholders on
  10   November 1, 2019 (“Special Meeting”); C) during this purported Special Meeting the shareholders
  11   voted to remove one member of Global’s three-member board of directors and to install three new
  12   members of the board (the “New Board”); D) Rosenthal and the New Board have not yet
  13   attempted to exercise control over property of the Debtors’ estates, or to direct the actions of the
  14   Debtors in this case. Based upon these representations, Rosenthal contends the Court should enter
  15   an order either granting the shareholders relief from automatic stay in this case to take the
  16   foregoing actions (presumably nunc-pro-tunc) or to rule the stay did not bar these actions.
  17          The Debtors would respectfully submit the Motion should be denied for the following
  18   reasons. First, the Special Meeting is void due to lack of proper notice under Idaho law and under
  19   Global’s bylaws. Second, Global’s chief executive officer is only required to call a special meeting
  20   when it is requested by shareholders holding at least 10% of the common stock. Together,
  21   Rosenthal and Dolan own less than 3.0%. Since Shahan Ohanessian (“Ohanessian”), the holder of
  22   more than 90% of Global’s common stock, was contractually precluded from calling a special
  23   meeting by that certain “Letter Agreement re: Resignation from Board of Directors and Limitation
  24   on Shareholder Authority During the Pendency of Chapter 11 Bankruptcy” (the “Letter
  25   Agreement”) (Sheikh Decl., ex. 1), no meeting could be lawfully called without the consent of
  26   Global’s board. Third, Rosenthal, as an equity holder, has no “pecuniary interest” in the Debtors’
  27   cases. Therefore, he lacks standing to seek relief. Fourth, contrary to the allegations in the Motion,
  28   the actions taken at the Special Meeting were an attempt to exercise of control over property of the

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Case 2:19-bk-14989-WB         Doc 503 Filed 12/18/19 Entered 12/18/19 15:31:34                 Desc
                               Main Document    Page 3 of 52


   1   estate. Accordingly, the automatic stay barred this course of conduct. Fifth, the Motion should be
   2   denied on the grounds it is made in bad faith. Ohanessian is clearly the real-party-in-interest.
   3   Rosenthal is just a straw man.
   4                                                     II

   5                                    SUMMARY OF MATERIAL FACTS

   6          A.      The Chapter 11 Cases.
   7          On April 30, 2019 (the “Petition Date”), the Debtors filed voluntary petitions for relief under
   8   Chapter 11 of the Bankruptcy Code in the United States Bankruptcy Court for the Central District
   9   of California. Since the Petition Date, the Debtors have managed their affairs and operated their
  10   businesses in the ordinary course as debtors-in-possession pursuant to sections 1107(a) and 1108 of
  11   the Bankruptcy Code.
  12          B.      The Debtors’ Secured Creditor.
  13          Hillair Capital Management LLC and its affiliates (collectively, “Hillair”) hold a lien
  14   against substantially all of the Debtors’ assets as security for an allowed claim in the approximate
  15   amount of $11.0 million (the “Hillair Claim”). Hillair has authorized the Debtors to continue using
  16   cash collateral on certain terms and conditions. These terms and conditions include the exclusion
  17   of Shahan Ohanessian (“Ohanessian”), Global’s 90% shareholder, from management as more fully
  18   provided in that certain Written Consent of The Majority Shareholder of Scoobeez Global, Inc.
  19   (the “Consent”) (Sheikh Decl., ex. 2) and in the Letter Agreement. Additionally, pursuant to the
  20   Third Stipulation Regarding Continued Cash Collateral, if any of the existing board members,
  21   Brian Weiss, Howard Grobstein and Daniel Harrow, is removed from the board without Hillair’s
  22   consent, the Debtors will be in default under the terms of this stipulation. (Sheikh Decl., ex. 3).
  23          C.      The Appointment of a CRO and The Removal of The Ohanessian Board.
  24          On May 16, 2019, the Debtors filed that certain Application for an Order Authorizing and
  25   Approving (I) Appointing Brian Weiss as Chief Restructuring Officer of the Debtors Nunc Pro
  26   Tunc to May 16, 2019 [Docket No. 63] (the “CRO Application”). (Sheikh Decl., ex. 4). On June 6,
  27   2019, the Court entered an order granting the CRO Application. (Sheikh Decl., ex. 5). On June 5,
  28

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Case 2:19-bk-14989-WB           Doc 503 Filed 12/18/19 Entered 12/18/19 15:31:34                       Desc
                                 Main Document    Page 4 of 52


   1   2019, Ohanessian executed the Consent and the Letter Agreement. (Sheikh Decl., ex. 1 & 2). The
   2   following actions were authorized in the Consent:
   3           1. The number of authorized board seats was fixed a minimum of one and a
   4               maximum of five;
   5           2. The existing board members were removed;
   6           3. Brian Weiss and Daniel W. Harrow were installed as the sole members of the
   7               board 1.
   8   (Sheikh Decl., ex. 1).
   9           In the Letter Agreement, Ohanessian agreed, in pertinent part, as follows:
  10
               Furthermore, I hereby agree not to use the following powers afforded to me as a
  11           shareholder of Scoobeez Global during the pendency of the Chapter 11
               Bankruptcy proceedings:
  12
              •     Vote my shares in Scoobeez Global to remove or otherwise alter the
  13                composition of the Board of Directors of Scoobeez Global or
  14                Scoobeez except in the event that another shareholder attempts to
                    remove or otherwise alter the composition of the Board of directors of
  15                Scoobeez Global or Scoobeez;

  16          •     Be involved with the management or financial affairs of Scoobeez
                    Global or Scoobeez; and
  17
  18          •     Affect the business or operations of Scoobeez Global or Scoobeez
                    except as requested and necessary to preserve the relationship with
  19                Amazon.com and its affiliated companies
  20                                                  ***
               I request that a Court of competent jurisdiction enter an order to this effect and
  21           expressly agree that because there is no other adequate remedy available, Scoobeez
  22           Global and/or Scoobeez may enforce this Letter Agreement by way of injunctive
               relief.
  23
       (Sheikh Decl., ex. 2).
  24
               The Letter Agreement and the Consent were signed and implemented to resolve a series of
  25
       issues raised by Hillair and to secure the following critical benefits for the Debtors: The continued
  26
       use of cash collateral for business operations; relief from the predations of Ohanessian and his
  27
  28   1
        Subsequently, the Committee was permitted to appoint one member to the Board of Directors consisting of Howard
       Grobstein.
                                                              3
Case 2:19-bk-14989-WB        Doc 503 Filed 12/18/19 Entered 12/18/19 15:31:34                Desc
                              Main Document    Page 5 of 52


   1   cronies; the vesting of corporate control in an independent Board of Directors, and the installation
   2   of a competent chief restructuring officer (“CRO”).
   3          D.      The Motion For Relief From Stay.
   4
              In the Motion, Rosenthal makes the following representations:
   5
              “On October 29, 2019, majority shareholder Shahan Ohanessian served notice
   6          upon the Board, officers and bankruptcy counsel that due to their failure to call a
              shareholders meeting, he was calling one for November 1, 2019 to discuss the
   7          current status of Scoobeez Global, the actions of the current board of directors,
              Scoobeez Global’s relationship with, and the recently filed lawsuit against,
   8
              Amazon, as well as possible removal of the existing Board or some of its
   9          members.”

  10          “The Special Meeting of the Shareholders took place on November 1, 2019 at
              approximately 12:00 noon. Three shareholders were present.”
  11          “After review of the situation, the shareholders voted to remove Daniel W.
  12          Harrow as a member of the board, and voted to elect Chishona Ohanessian,
              Shahan Ohanessian and Gregori Sedrakyan as new directors.”
  13
              “The first act of this new board was to ask the Debtors’ management why a sale is
  14          a better alternative than restructuring and reorganization of the Debtors. It will
              seek answers into the issues of excess technology spending. It will deal with
  15          conflicts of interest among the officers of the debtors, and it may seek a new
  16          Chief Restructuring Officer who does not have ties to Hillair. It will not wrest
              control of the finances of the Debtors from its management.”
  17
       According to the Motion, the aforementioned actions did not violate Global’s automatic stay and
  18
       the Court should enter an order confirming this fact. For the reasons stated below, the Motion should
  19
       be denied.
  20
                                                        III
  21
                                 LEGAL ANALYSIS AND AUTHORITIES
  22
              A.      The Special Meeting Was Void.
  23
              Global is an Idaho corporation. The Idaho code section addressing special shareholder
  24
       meetings states:
  25
              30-29-705. NOTICE OF MEETING. (a) A corporation shall notify
  26          shareholders of the date, time and place of each annual and special shareholders’
              meeting no fewer than ten (10) nor more than sixty (60) days before the
  27
              meeting date.
  28   Idaho Code Ann. § 30-29-705 (emphasis added). Subsection (c) of the above statute states

                                                        4
Case 2:19-bk-14989-WB           Doc 503 Filed 12/18/19 Entered 12/18/19 15:31:34               Desc
                                 Main Document    Page 6 of 52


   1          Notice of a special meeting of shareholders must include a description of the
   2          purpose or purposes for which the meeting is called.
       Id. (emphasis added). Section 4 of Global’s bylaws incorporates these same statutory provisions.
   3
   4          Special meetings of the shareholders, for any purpose or purposes, unless otherwise
              prescribed by statute, may be called by the Chief Executive Officer or by the Board
   5          of Directors and must be called by the Chief Executive Officer at the request of the
              holders if not less than one-tenth of all the outstanding shares of the corporation
   6
              entitled to vote are at the meeting.
   7   (Sheikh Decl., ex. 6).
   8          Based upon Rosenthal’s representations to the Court, the purported Special Meeting failed
   9   to comply with the requirements in the bylaws for, inter alia, the following reasons:
  10          1. To call a meeting without the consent of the board of directors or Global’s chief
  11               executive officer, the requesting shareholders would need to establish that they
  12               held at least ten percent of Global’s outstanding shares. Since Rosenthal’s and
  13               Dolan’s combined holding are less than 2.7%, they lacked this power, and
  14               Ohanessian was contractually precluded from making such a request;
  15          2. The alleged Special meeting was set on two-days-notice, not the minimum of
  16               ten;
  17          3.   There is no evidence indicating that notice of the meeting was given to Global’s
  18
                   other shareholders, or that this notice disclosed the meeting’s intended purpose.
  19
       These deficiencies render the purported Special Meeting a nullity and all decisions made therein
  20
       void. See Kemmer v. Newman, 161 Idaho 463, 466, 387 P.3d 131, 134 (2016) (“Actions taken in
  21
       violation of a corporation's bylaws are void.”); Glahe v. Arnett, 38 Idaho 736, 741, 225 P. 796,
  22
       798 (1924) (noting that actions taken at a meeting called in violation of the bylaws were void).
  23
              In response to the foregoing, Ohanessian will undoubtedly cite Section 8 of the bylaws,
  24
       which states:
  25
              Any action required to be taken at a meeting of the shareholders, or any other action
  26          which may be taken at a meeting of the shareholders, may be taken without a
              meeting of a consent in writing, setting forth the action so taken, must be signed by
  27          shareholders owning a majority of the Company’s issued and outstanding common
              stock with respect to the subject matter thereof.
  28

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Case 2:19-bk-14989-WB         Doc 503 Filed 12/18/19 Entered 12/18/19 15:31:34               Desc
                               Main Document    Page 7 of 52


   1   (Sheikh Decl., ex. 6). This argument should be rejected. The Letter Agreement barred Ohanessian
   2   from being “involved” in the Debtors’ management during the pendency of their bankruptcy cases.
   3   Calling a special meeting to remove the board of directors and appointing himself to the board
   4   surely crosses this line. Ohanessian’s contention that the Letter Agreement allows him to vote his
   5   shares in conjunction with a vote by the other shareholders is a contrivance. The vote by the other
   6   shareholders at the purported special meeting could not have occurred, but for Ohanessian’s
   7   actions, since they did not own a sufficient number of shares to call a meeting. Orchestrating a
   8   vote to achieve an end run around the black letter prohibitions in the Letter Agreement is a clear
   9   breach of this contract.
  10          B.      Ohanessian Lacked The Authority To Call The Special Meeting.
  11          In the Letter Agreement, Ohanessian contractually agreed that he was barred from taking
  12   any of these actions during the pendency of the Debtors’ cases:
  13
              •    Vote my shares in Scoobeez Global to remove or otherwise alter the
  14               composition of the Board of Directors of Scoobeez Global or
                   Scoobeez except in the event that another shareholder attempts to
  15               remove or otherwise alter the composition of the Board of directors of
                   Scoobeez Global or Scoobeez;
  16

  17          •    Be involved with the management or financial affairs of Scoobeez
                   Global or Scoobeez; and
  18
              •    Affect the business or operations of Scoobeez Global or Scoobeez
  19               except as requested and necessary to preserve the relationship with
  20               Amazon.com and its affiliated companies
       In the joinder and declaration filed in support of the Motion, Ohanessian essentially admits he
  21
       violated the first two prohibitions in the Letter Agreement. He admits he demanded the special
  22
       meeting; he admits he voted to remove one of the three directors; and he admits he elected himself
  23
       and his cronies to Global’s board. As stated above, Ohanessian’s contention that his actions were
  24
       authorized by the “except in the event that another shareholder attempts to remove or otherwise
  25
       alter the composition of the Board of directors of Scoobeez Global or Scoobeez” language fails.
  26
              Ohanessian also breached the second prohibition above. By voting himself onto Global’s
  27
       board he necessarily became “involved with the management…of Scoobeez Global”. Accordingly,
  28

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Case 2:19-bk-14989-WB          Doc 503 Filed 12/18/19 Entered 12/18/19 15:31:34                 Desc
                                Main Document    Page 8 of 52


   1   his vote is void. Neither he nor any of the other purported new board members is in fact a member
   2   of Global’s board.
   3           C.      The Stay Applies and Relief Should Not Be Granted.
   4           Property of the estate includes “all legal and equitable interests of the debtor in property as
   5   of the commencement of the case.” 11 U.S.C. §541(a)(1). The Legislative history of section 541
   6   states that the scope of the paragraph is broad “[i]t includes all kinds of property, including tangible
   7   or intangible property…” See In re Computer Communications, Inc., 824 F.2d 725, 729 (9th Cir.
   8   1987) citing H.R.Rep. No. 595 at 367. It is well established in the Ninth Circuit that the contract
   9   rights of a debtor are property of the estate under section 541.
  10           The automatic stay enjoins the “enforcement of any act to obtain possession of property of
  11   the estate or of property from the estate or to exercise control over property of the estate.” 11 U.S.C.
  12   §362(a)(3). Here, the Debtors’ 90% shareholder is endeavoring to seize control of Global post-
  13   petition after contractually relinquishing this right. This course of conduct should be deemed to
  14   require relief from the automatic stay and in particular Section 362(a)(3).
  15           The Delaware bankruptcy court in In re SS Body Armor, Inc., 527 B.R. 597 (Bankr. Del.
  16   2015), held, in the context of a shareholder lawsuit to compel a corporate debtor to conduct a
  17   shareholder meeting, that a bankruptcy court may enjoin the occurrence of a shareholder meeting as
  18   well as the implementation of any directives resulting from such a meeting, if it is shown that they
  19   would severely undermine the debtor’s reorganization. Here, Ohanessian’s actions are a direct and
  20   immediate threat to the instant chapter 11 cases, which are at a critical stage given the recent actions
  21   by Amazon to terminate its relationship with the Debtors and its objection to the sale and assignment
  22   of its contracts to Hillair.
  23           The court in SS Body Armor, adopted the approach taken by the Second Circuit in In re
  24   Johns-Manville Corp., 801 F.2d 60 (2d Cir. 1986). While the Manville case and its progeny
  25   recognize state law shareholder election rights, they give priority to federal interests in
  26   reorganization cases in the event of conflict between the state law right to elect a board and the
  27   federal law goal of reorganizing the corporation into a viable entity (or otherwise maximizing the
  28   value of property of the estate). In Manville, the Second Circuit held the issuance of an injunction

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Case 2:19-bk-14989-WB         Doc 503 Filed 12/18/19 Entered 12/18/19 15:31:34               Desc
                               Main Document    Page 9 of 52


   1   to prevent a shareholders meeting to replace the board of a Chapter 11 debtor was appropriate if: (1)
   2   there was clear abuse present in calling the meeting (which clearly exists here as a result of the
   3   Letter Agreement, the Debtors’ bylaws, and applicable state law); and (2) there is the risk of
   4   irreparable harm from such actions. In Manville, the Bankruptcy Court found that the debtor in
   5   possession was entitled to an injunction to prevent the shareholders meeting. Manville Corp. v.
   6   Equity Security Holders’ Committee (In re Johns-Manville Corp.), 66 B.R. 517 (Bankr. S.D.N.Y.
   7   1986). Here, Ohanessian’s orchestrated scheme to seize control of the Debtors not only violates the
   8   automatic stay, it is in breach of the Letter Agreement and it is a collateral attack on the order
   9   authorizing the use of cash collateral.
  10         D.       The Motion Was Filed In Bad Faith.
  11          Ohanessian owns more than ninety percent of the shares of Global and Global owns ninety
  12   six percent of the shares of Scoobeez. It was Ohanessian who demanded a special shareholders
  13   meeting, it was Ohanessian who provided the necessary ownership percentage to force such a
  14   meeting to be scheduled, and it was Ohanessian who contends he now controls the board through
  15   the actions taken at this meeting. In sum, it was Ohanessian who arranged the failed coup attempt
  16   described in the Motion and it is Ohanessian’s declaration that serves as the foundation of the
  17   Motion.
  18          Given these facts, why is Rosenthal, a bit player who has no possibility of every recovering
  19   anything on his de minimis equity position, the moving party in the Motion? The answer is
  20   Ohanessian is not inclined to openly admit he breached the Letter Agreement and hence his
  21   actions are void. Accordingly, he has presented a straw man to the Court in his stead. This ruse is
  22   bad faith. The Motion should be denied.
  23          E.      Rosenthal Has No Pecuniary Interest In This Case.
  24          Bankruptcy standing is much narrower than constitutional standing. In re Cult Awareness
  25   Network, Inc., 151 F.3d 605 (7th Cir.1998). To have bankruptcy standing, “a person must have a
  26   pecuniary interest in the outcome of the bankruptcy proceedings.” Id. “Only those persons affected
  27   pecuniarily by a bankruptcy order have standing [.]” Id.; see also In re WorldPoint Interactive,
  28   Inc., No. BAP HI-06-1115-BKMO, 2007 WL 7553415, at *3–4 (B.A.P. 9th Cir. Mar. 7,

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Case 2:19-bk-14989-WB         Doc 503 Filed 12/18/19 Entered 12/18/19 15:31:34                  Desc
                              Main Document    Page 10 of 52


   1   2007), aff'd sub nom. In re Worldpoint Interactive, Inc., 335 F. App'x 669 (9th Cir. 2009) (“He did
   2   not file a claim in the bankruptcy case, and the time for doing so has passed, nor does his status as
   3   a shareholder, director, or officer, without a direct pecuniary interest, confer standing. In re Dein
   4   Host, Inc., 835 F.2d 402, 406–07 (1st Cir.1987). We conclude Fuchs lacks standing and,
   5   accordingly, will dismiss the appeal.”); Matter of Point Ctr. Fin., Inc., 890 F.3d 1188, 1191 (9th
   6   Cir. 2018)(“Under this prudential standing doctrine, only a “person aggrieved,” that is, someone
   7   who is “directly and adversely affected pecuniarily” by a bankruptcy court’s order, has standing to
   8   appeal that order.”), citing Fondiller v. Robertson (In re Fondiller), 707 F.2d 441, 443 (9th Cir.
   9   1983).
  10            The Debtors in this case are in dire financial straits. Their assets are over-encumbered by
  11   over $11.0 million in secured debt and a recent effort to sell their assets failed due to Amazon’s
  12   notice that it intends to terminate the contract with the Debtors. Although the Debtors’
  13   management team is working to structure other alternatives that will yield a dividend for
  14   unsecured creditors, no distribution will be paid to equity in this case. Accordingly, Rosenthal has
  15   no pecuniary interest in this bankruptcy, and hence lacks standing to file the Motion.
  16            F.     Bankruptcy Code 105(a) Authorizes the Interim Relief Requested
  17            Bankruptcy Code section 105(a) authorizes the Court to issue “any order, process or
  18   judgment that is necessary or appropriate to carry out the provisions of this title.” 11 U.S.C. §105(a).
  19   Section 105(a) therefore authorizes bankruptcy courts to issue injunctions, enter orders and take
  20   other necessary steps in aid of their jurisdiction.
  21            While the provisions of the automatic stay are “self-executing” and no order is required to
  22   trigger the protections of the automatic stay, additional relief under Section 105 is necessary. If
  23   Ohanessian is permitted to renege on the terms of the Letter Agreement, the Debtors’ could forfeit
  24   the continued use of cash collateral. This would result in the closure of their business. Conversely,
  25   Ohanessian will not be injured by this interim relief, since he has already agreed not to have any
  26   involvement in management during the pendency of this case.
  27
  28

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Case 2:19-bk-14989-WB          Doc 503 Filed 12/18/19 Entered 12/18/19 15:31:34              Desc
                               Main Document    Page 11 of 52


   1                                                          IV
   2                                               CONCLUSION
   3           Based on the foregoing, the Debtors would respectfully pray that the Court deny the Motion,
   4   or failing that, set the matter for a final hearing.
   5
       DATED: December 18, 2019                                    OKEEFE & ASSOCIATES
   6                                                               LAW CORPORATION, P.C.

   7
   8                                                                      /s/ Sean A. O'Keefe
                                                                   By: __________________________
                                                                       Sean A. O’Keefe, Special
   9
                                                                       Litigation Counsel for the
  10                                                                   Debtors

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Case 2:19-bk-14989-WB          Doc 503 Filed 12/18/19 Entered 12/18/19 15:31:34               Desc
                               Main Document    Page 12 of 52


   1                                  DECLARATION OF SCOTT SHEIKH

   2          I, Scott Sheikh, hereby declare and state as follows:
   3          1.      I am over the age of eighteen years.
   4          2.      The facts stated herein are within my personal knowledge or I have acquired
   5   knowledge of these facts through my familiarity with the books and records of Scoobeez Global,
   6   Inc., an Idaho corporation (“Global”) and Scoobeez, a California corporation (“Scoobeez”).
   7          3.      I am the co-chief executive officer and general counsel of Global and Scoobeez.
   8          4.      Global and Scoobeez maintain their corporate books and records in a consistent and
   9   business-like manner, and at the present time I oversee the retention of these books and records in a
  10   supervisory capacity.
  11          5.      Global is incorporated in the State of Idaho. It was originally incorporated under the
  12   name ABT Mining Company (ABT”).
  13          6.      In 2015, ABT acquired a significant and controlling stake in Scoobeez. On February
  14   22, 2017, ABT changed its name to Scoobeez Global, Inc. Global now holds approximately 96% of
  15   Scoobeez’ shares.
  16          7.      On April 30, 2019 (the “Petition Date”), Global, Scoobeez, and Scoobur, LLC
  17   (“Scoobur) (collectively the “Debtors”) filed voluntary petitions for relief under Chapter 11 of the
  18   Bankruptcy Code in the United States Bankruptcy Court for the Central District of California.
  19          8.      Since the Petition Date, the Debtors have managed their affairs and operated their
  20   businesses in the ordinary course as debtors-in-possession pursuant to sections 1107(a) and 1108 of
  21   the Bankruptcy Code.
  22          9.      Hillair Capital Management LLC and its affiliates (collectively, “Hillair”) hold a lien
  23   against substantially all of the Debtors’ assets as security for an allowed claim in the approximate
  24   amount of $11 million (the “Hillair Claim”).
  25          10.     Hillair has authorized the Debtors to continue using cash collateral on certain terms
  26   and conditions. These terms and conditions include the exclusion of Shahan Ohanessian
  27   (“Ohanessian”), Global’s 90% shareholder, from management as more fully provided in that certain
  28   Written Consent of The Majority Shareholder of Scoobeez Global, Inc. (the “Consent”) and in that

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Case 2:19-bk-14989-WB          Doc 503 Filed 12/18/19 Entered 12/18/19 15:31:34                 Desc
                               Main Document    Page 13 of 52


   1   certain Letter Agreement re: Resignation from Board of Directors and Limitation on Shareholder
   2   Authority During the Pendency of Chapter 11 Bankruptcy (the “Letter Agreement”).
   3          11.     True and correct copies of the Consent and the Letter Agreement are attached hereto
   4   as Exhibit “1” and “2” respectively.
   5          12.     Pursuant to the Third Stipulation Regarding Continued Cash Collateral entered into
   6   by and among Hillair and the Debtors (the “Stipulation”), if any of Global’s existing board members,
   7   Brian Weiss, Howard Grobstein and Daniel Harrow, are removed from the board without Hillair’s
   8   consent, the Debtors will be in default under the terms of the Stipulation. True and correct copies of
   9   the Stipulation and the order of this Court approving the same are attached hereto as Exhibits “3”
  10   and “4” respectively.
  11          13.     On May 16, 2019, the Debtors filed that certain Application for an Order Authorizing
  12   and Approving (I) Appointing Brian Weiss as Chief Restructuring Officer of the Debtors Nunc Pro
  13   Tunc to May 16, 2019 [Docket No. 63] (the “CRO Application”). On June 6, 2019, the Court entered
  14   an order granting the CRO Application (the “CRO Order”). A true CRO Order is attached hereto as
  15   Exhibit “5”.
  16          14.     Ohanessian owns more than 90% of Global’s common stock.
  17          15.     The Rosenthal Trust owns approximately 2.6% of Global’s stock and Dick Dolan
  18   owns approximately .03%.
  19          16.     Attached hereto as Exhibit “6” is a true and correct copy of Global’s ByLaws.
  20          17.     If the Debtors are denied the use of cash collateral due to the purported modification
  21   to the board of directors alleged by Ohanessian, Rosenthal and Dolan, this will force the Debtors to
  22   cease operations almost immediately. If this occurs the Debtors will lose potentially millions in
  23   value that could otherwise have been realized through a disposition of their business as a going
  24   concern. Moreover, the existence of confusion in the market regarding who controls Global and
  25   Scoobeez could have a materially adverse effect upon the Debtors’ value.
  26          18.     The Debtors assets are encumbered by over $11 million in secured debt and a recent
  27   effort to sell their assets failed due to Amazon’s notice that it intends to terminate the contract with
  28   the Debtors.

                                                         12
Case 2:19-bk-14989-WB      Doc 503 Filed 12/18/19 Entered 12/18/19 15:31:34                  Desc
                           Main Document    Page 14 of 52


   1        I declare that the foregoing is true and correct under the penalty of perjury.
   2        Executed this 16 day of December 2020 in Los Angeles, California.
   3
   4
                                   _______________________
   5
                                         Scott Sheikh
   6
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Case 2:19-bk-14989-WB   Doc 503 Filed 12/18/19 Entered 12/18/19 15:31:34   Desc
                        Main Document    Page 15 of 52




                               EXHIBIT 1


                                                                       000014
Case 2:19-bk-14989-WB           Doc 503 Filed 12/18/19 Entered 12/18/19 15:31:34                     Desc
                                Main Document    Page 16 of 52




            WRITTEN CONSENT OF THE MAJORITY SHAREHOLDER OF
                         SCOOBEEZ GLOBAL, INC.

       The undersigned, as the record owner of 150,000,000 shares of common stock and
18,400,000 shares of Series A preferred stock, representing approximately 92% of the
outstanding shares entitled to vote of SCOOBEEZ GLOBAL, INC., an Idaho corporation, does
hereby consent by this writing to the adoption of the following resolutions:

AMENDMENT OF THE BY-LAWS

       ​RESOLVED, that Article III, Section 2 of the By-Laws of Scoobeez Global, Inc. is
deleted in its entirety and replaced with the following:

       ​       ​SECTION 2 NUMBER, TENURE, AND QUALIFICATIONS
                The number of Directors of the corporation must be at least one but not more than
                five. Each director will hold office until the next annual meeting of shareholders
                and until the Director’s successor has been elected and qualified.

REMOVAL OF DIRECTORS

       RESOLVED, that the following named persons are hereby removed from the Board of
Directors:

               Shahan Ohanessian
               Shoushana Ohanessian
               Jowita Chomentowska
               Lance Brinker
               Richard Dolan

       ​RESOLVED FURTHER, that concurrently with the resignation of Shahan Ohanessian
from the Board of Directors, he executed a Letter Agreement re: Limitation on Shareholder
Authority During the Pendency of Chapter 11 Bankruptcy, which is adopted by the Board of
Directors and may be executed on behalf of the company by any of its officers; the officers of the
company may take any other action necessary to effectuate the foregoing.

ELECTION OF DIRECTORS

        RESOLVED, that the following named persons are hereby elected to serve as the
directors of the corporation to hold office until the next annual meeting of shareholders or until
their successors are duly elected:

               Brian Weiss
               Daniel W. Harrow

        The undersigned hereby consents to the foregoing resolutions and direct that this Written
Consent be filed with the minutes of the proceedings of the shareholders of this corporation and
that pursuant the relevant Idaho statutes and the Bylaws of this corporation, said resolutions shall
have the same force and effect as if they were adopted at a meeting at which the undersigned
were personally present.

       IN WITNESS WHEREOF, the undersigned has executed this Written Consent as of 000015
                                                                                   this
___ day of June 2019.
5Case  2:19-bk-14989-WB
 ___ day of June 2019.           Doc 503 Filed 12/18/19 Entered 12/18/19 15:31:34   Desc
                                 Main Document    Page 17 of 52


       ​      ​      ​      ​        ​     ​     ​    ​       ​     ​     ​   ​     ​
       ​      ​      ​      ​        ​     ​     ​    ​ Shahan Ohanessian

SHARES HELD:
Common: 150,000,000
Series A Preferred: 18,400,000
2




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Case 2:19-bk-14989-WB   Doc 503 Filed 12/18/19 Entered 12/18/19 15:31:34   Desc
                        Main Document    Page 18 of 52




                               EXHIBIT 2


                                                                       000017
Case 2:19-bk-14989-WB   Doc 503 Filed 12/18/19 Entered 12/18/19 15:31:34   Desc
                        Main Document    Page 19 of 52




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Case 2:19-bk-14989-WB   Doc 503 Filed 12/18/19 Entered 12/18/19 15:31:34   Desc
                        Main Document    Page 20 of 52




                               EXHIBIT 3


                                                                       000019
        Case 2:19-bk-14989-WB         Doc 503
                                          486 Filed 12/18/19
                                                    12/06/19 Entered 12/18/19
                                                                      12/06/19 15:31:34
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                                      Main
                                       MainDocument
                                            Document Page
                                                        Page21
                                                             1 of
                                                                of14
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    1   Ashley M. McDow (245114)
        John A. Simon (admitted Pro Hac Vice)
    2   Shane J. Moses (250533)
        FOLEY & LARDNER LLP
    3   555 S. Flower St., 33rd Floor
        Los Angeles, CA 90071
    4   Telephone: 213.972.4500
        Email: amcdow@foley.com
    5          jsimon@foley.com
               smoses@foley.com
    6

    7   Attorneys for Debtors and Debtors in
        Possession, SCOOBEEZ, SCOOBEEZ GLOBAL,
    8   INC., and SCOOBUR, LLC
    9                               UNITED STATES BANKRUPTCY COURT
                                     CENTRAL DISTRICT OF CALIFORNIA
  10
                                          LOS ANGELES DIVISION
  11

  12
            In re:                                            Case No. 2:19-bk-14989-WB
  13        SCOOBEEZ, et al. 1                                Jointly Administered:
                                                              2:19-bk-14991-WB; 2:19-bk-14997-WB
  14                Debtors and Debtors in Possession.
                                                              Chapter 11
  15

  16        Affects:
            ■ All Debtors                                     THIRD STIPULATION REGARDING
  17        □ Scoobeez, ONLY                                  CONTINUED USE OF CASH
                                                              COLLATERAL
            □ Scoobeez Global, Inc., ONLY
  18        □ Scoobur LLC, ONLY
  19

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        1
  28      The Debtors and the last four digits of their respective federal taxpayer identification numbers are as
        follows: Scoobeez (6339); Scoobeez Global, Inc. (9779); and Scoobur, LLC (0343). The Debtors’
        address is 3463 Foothill Boulevard, Glendale, California 91214.
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4851-7769-5406.1
        Case 2:19-bk-14989-WB           Doc 503
                                            486 Filed 12/18/19
                                                      12/06/19 Entered 12/18/19
                                                                        12/06/19 15:31:34
                                                                                 17:01:03               Desc
                                        Main
                                         MainDocument
                                              Document Page
                                                          Page22
                                                               2 of
                                                                  of14
                                                                     52


    1 TO THE HONORABLE JULIA W. BRAND, UNITED STATES BANKRUPTCY JUDGE; THE
      OFFICE OF THE UNITED STATES TRUSTEE; HILLAIR CAPITAL MANAGEMENT, LLC;
    2 THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS; AND ALL INTERESTED
      PARTIES AND/OR THEIR COUNSEL OF RECORD:
    3

    4              Scoobeez, Scoobeez Global, Inc., and Scoobur, LLC, the debtors and debtors in possession

    5   (collectively the “Debtors”) in the above-captioned jointly administered chapter 11 bankruptcy cases

    6   (the “Chapter 11 Cases”), the Official Committee of Unsecured Creditors (the “Committee”) and Hillair

    7   Capital Management LLC and Hillair Capital Advisors LLC, the general partner of Hillair Capital

    8   Investments LP (collectively, “Hillair”), enter into this stipulation (the “Third Stipulation”) regarding

    9   continued use of cash collateral as follows:
                                                         RECITALS
  10
                   A.     On May 1, 2019, the Debtors filed the Debtors’ Emergency Motion for Entry of Interim
  11
        Order Authorizing Use of Cash Collateral on an Interim Basis [Docket No. 13] (the “Cash Collateral
  12
        Motion”).
  13
                   B.     The Debtors are currently using cash collateral with the consent of Hillair, and pursuant
  14
        to this Court’s prior orders approving use of cash collateral.
  15
                   C.     On June 6, 2019, the Debtors and Hillair entered into the Second Stipulation for (1)
  16
        Authorization to Use Cash Collateral; and (2) Appointment of Chief Restructuring Officer [Docket No.
  17
        132] (the “Second Stipulation”) [Docket. No. 132], which was approved by the Court’s order entered on
  18
        June 7, 2019 [Docket No. 135]. The Second Stipulation provided for continued use of cash collateral
  19
        through June 28, 2019, subject to the terms and conditions provided therein.
  20
                   D.     On July 3, 2019, the Court entered the agreed Order Granting Continued Use of Cash
  21
        Collateral Pursuant to That Certain Second Stipulation for (1) Authorization to Use Cash Collateral; and
  22
        (2) Appointment of Chief Restructuring Officer [Docket No. 172], extending the Debtors’ use of cash
  23
        collateral through September 6, 2019.
  24
                   E.     On September 19, 2019, the Court entered the agreed Order Granting Continued Use of
  25
        Cash Collateral Through December 6, 2019 Pursuant to That Certain Second Stipulation for (1)
  26
        Authorization to Use Cash Collateral; and (2) Appointment of Chief Restructuring Officer [Docket No.
  27
        328] (the “Continued Order”). The Continued Order extended the Debtors’ authorization for use of
  28
                                                                                     DEBTORS’ THIRD STIPULATION
                                                                    REGARDING CONTINUED USE OF CASH COLLATERAL
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                                                                                      Case No. 2:19-bk-14989-WB
4851-7769-5406.1
        Case 2:19-bk-14989-WB            Doc 503
                                             486 Filed 12/18/19
                                                       12/06/19 Entered 12/18/19
                                                                         12/06/19 15:31:34
                                                                                  17:01:03              Desc
                                         Main
                                          MainDocument
                                               Document Page
                                                           Page23
                                                                3 of
                                                                   of14
                                                                      52


    1   cash collateral through December 6, 2019, subject to the terms of the Second Stipulation as modified by
    2 the Continued Order, and pursuant to the budget attached to the Continued Order. The Continued Order

    3 also set a continued hearing on the Cash Collateral Motion for December 5, 2019 at 10:00 a.m. (the

    4 “Continued Hearing”). The period covered by the current budget attached to the Continued Order is

    5   through December 6, 2019.
    6              F.     The Debtors have prepared a new 13-week budget that covers the period through March
    7   6, 2020 (the “Budget”), a copy of which is attached hereto as Exhibit A. The Budget has been approved
    8   by the Debtors’ secured creditor Hillair Capital Management LLC (“Hillair”) and the Official
    9   Committee of Unsecured Creditors (the “Committee”).
  10               G.     The Debtors, Hillair and the Committee agree to the terms of this Third Stipulation.
  11
                                                        STIPULATION
  12

  13
             1. The Debtors, Hillair and the Committee agree to the continued use of cash collateral, pursuant to
  14
                   the terms of the Second Stipulation, subject to the new Budget, through March 6, 2020.
  15
                   Specifically, the budget approved pursuant to the Continued Order is superseded by the Budget
  16
                   attached hereto, and the “Termination Date” as defined in paragraph 14.1(a) in the Second
  17
                   Stipulation is modified to March 6, 2020.
  18
             2. Paragraph 12.1 of the Second Stipulation is hereby modified to add the following events of
  19
                   default:
  20
                          (k)     The composition of the Board of Directors of any of the Debtors is altered or any
  21
                   previous action to alter the composition of any such Board is determined to be valid such that
  22
                   Messrs. Weiss, Grobstein and Harrow no longer serve as the sole Directors of the Debtors.
  23
                          (l)     The Debtors’ agreements with Amazon are terminated or Amazon is given relief
  24
                   from the automatic stay to effectuate its termination rights.
  25
                          (m)     Any chapter 11 plan of reorganization or liquidation is filed by the Debtors or any
  26
                   other third-party and Hillair does not consent to such plan.
  27

  28
                                                                                       DEBTORS’ THIRD STIPULATION
                                                                      REGARDING CONTINUED USE OF CASH COLLATERAL
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                                                                                      Case No. 2:19-bk-14989-WB
4851-7769-5406.1
        Case 2:19-bk-14989-WB            Doc 503
                                             486 Filed 12/18/19
                                                       12/06/19 Entered 12/18/19
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                                         Main
                                          MainDocument
                                               Document Page
                                                           Page24
                                                                4 of
                                                                   of14
                                                                      52


    1        3. Except as provided for herein and in the Stipulation Further Extending Deadline For Official
    2              Committee Of Unsecured Creditors To Challenge Claim And Lien Of Hillair Capital
    3              Management, LLC [Docket. No. 439], the terms of the Second Stipulation remain in full force
    4              and effect.
    5        4. The Debtors, Hillair and the Committee request entry of the order approving this Third
    6              Stipulation in the form attached hereto as Exhibit B.
    7

    8   DATED: December 3, 2019                           FOR THE DEBTORS:

    9

  10
                                                          /s/ Ashley M. McDow
  11                                                      Ashley M. McDow
  12                                                      Ashley M. McDow (245114)
                                                          John A. Simon (admitted Pro Hac Vice)
  13                                                      Shane J. Moses (250533)
                                                          FOLEY & LARDNER LLP
  14
                                                          Attorneys for Debtors SCOOBEEZ, SCOOBEEZ
  15                                                      GLOBAL, INC., and SCOOBUR, LLC
  16

  17                                                       FOR THE OFFICIAL COMMITTEE OF
                                                           UNSECURED CREDITORS:
  18

  19
                                                           David L. Neale
  20                                                       John-Patrick M. Fritz
                                                           LEVENE, NEALE, BENDER, YOO & BRILL L.L.P.,
  21
                                                           Attorneys for the Committee
  22

  23

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                                                                                     DEBTORS’ THIRD STIPULATION
                                                                    REGARDING CONTINUED USE OF CASH COLLATERAL
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                                                                                    Case No. 2:19-bk-14989-WB
4851-7769-5406.1
        Case 2:19-bk-14989-WB            Doc 503
                                             486 Filed 12/18/19
                                                       12/06/19 Entered 12/18/19
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                                               Document Page
                                                           Page25
                                                                5 of
                                                                   of14
                                                                      52


    1        3. Except as provided for herein and in the Stipulation Further Extending Deadline For Official
    2              Committee Of Unsecured Creditors To Challenge Claim And Lien Of Hillair Capital
    3              Management, LLC [Docket. No. 439], the terms of the Second Stipulation remain in full force
    4              and effect.
    5        4. The Debtors, Hillair and the Committee request entry of the order approving this Third
    6              Stipulation in the form attached hereto as Exhibit B.
    7

    8   DATED: December 3, 2019                           FOR THE DEBTORS:

    9
  10

  11                                                      Ashley M. McDow
  12                                                      Ashley M. McDow (245114)
                                                          John A. Simon (admitted Pro Hac Vice)
  13                                                      Shane J. Moses (250533)
                                                          FOLEY & LARDNER LLP
  14
                                                          Attorneys for Debtors SCOOBEEZ, SCOOBEEZ
  15                                                      GLOBAL, INC., and SCOOBUR, LLC
  16
  17                                                       FOR THE OFFICIAL COMMITTEE OF
                                                           UNSECURED CRREDITORS:
                                                                      CREDITORS:
  18

  19
                                                           Daviid L.
                                                           David  L Neale
  20                                                       John-Patrick M. Fritz
                                                           LEVENE, NEALE, BENDER, YOO & BRILL L.L.P.,
  21
                                                           Attorneys for the Committee
  22

  23

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                                                                                     DEBTORS’ THIRD STIPULATION
                                                                    REGARDING CONTINUED USE OF CASH COLLATERAL
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                                                                                    Case No. 2:19-bk-14989-WB
4851-7769-5406.1
Case 2:19-bk-14989-WB   Doc 503
                            486 Filed 12/18/19
                                      12/06/19 Entered 12/18/19
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                        Main
                         MainDocument
                              Document Page
                                          Page26
                                               6 of
                                                  of14
                                                     52




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Case 2:19-bk-14989-WB   Doc 503
                            486 Filed 12/18/19
                                      12/06/19 Entered 12/18/19
                                                        12/06/19 15:31:34
                                                                 17:01:03   Desc
                        Main
                         MainDocument
                              Document Page
                                          Page27
                                               7 of
                                                  of14
                                                     52




                           Exhibit A




                                                                        000026
Scoobeez, et al.                             Case 2:19-bk-14989-WB                               Doc 503
                                                                                                     486 Filed 12/18/19
                                                                                                               12/06/19 Entered 12/18/19
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Cash Forecast through 3/6/2020                                                                   Main
                                                                                                  MainDocument
                                                                                                       Document Page
                                                                                                                   Page28
                                                                                                                        8 of
                                                                                                                           of14
                                                                                                                              52
                   Forecast Week No.               1             2             3             4              5             6             7             8             9            10            11            12           13
                                            Forecast      Forecast      Forecast      Forecast       Forecast      Forecast      Forecast      Forecast      Forecast      Forecast      Forecast      Forecast      Forecast                    Percent of
                        Week Ended       12/13/2019    12/20/2019    12/27/2019      1/3/2020      1/10/2020     1/17/2020     1/24/2020     1/31/2020      2/7/2020     2/14/2020     2/21/2020     2/28/2020      3/6/2020    Total Forecast   Collections
   Invoiced                                 800,000       800,000       800,000      775,000         775,000       775,000       775,000       775,000      775,000        775,000       775,000       775,000      775,000       10,150,000
   Routes
Total Invoices                              800,000      800,000       800,000       775,000        775,000       775,000       775,000       775,000       775,000       775,000       775,000       775,000       775,000       10,150,000

Beginning Cash                            2,077,865     2,454,742     1,833,924     2,400,077      1,840,053     2,267,519     1,813,747     2,191,722     1,659,773     2,145,248     1,684,476     2,032,451     1,512,702

Collections                                 800,000      800,000       800,000       800,000        800,000       800,000       800,000       775,000       775,000       775,000       775,000       775,000       775,000       10,250,000        100.0%

Cash Disbursements:
  Fuel                                       56,000       56,000        56,000        55,000         55,000        55,000        55,000        55,000        55,000        55,000        55,000        55,000        55,000          718,000          7.0%
  Payroll & Payroll Expenses                 10,000      930,000        10,000       930,000         10,000       900,000        10,000       900,000        10,000       900,000        10,000       900,000        10,000        5,530,000         54.0%
  Executive Compensation                        -         32,500           -          32,500            -             -          32,500           -          32,500           -          32,500                      32,500          195,000          1.9%
  Vehicle - Hertz (3)                        95,197       95,197        95,197       109,375        109,375       109,375       109,375       109,375       109,375       109,375       109,375       109,375       109,375        1,379,340         13.5%
  Vehicle - Accidents/Tolls/Citations           -            750           -             750            -          37,500           -             750           -          37,500           -             750           -             78,000          0.8%
  Worker's Compensation                       7,000       86,022         7,000        86,022          7,000        83,247         7,000        83,247         7,000        83,247         7,000        83,247         7,000          554,031          5.4%
  Rent & Utilities                              -            -             -          20,500            -             -             -          20,500           -             -             -          20,500           -             61,500          0.6%
  Insurance                                  41,276          -             -          75,227            -             -             -          75,227           -             -             -          75,227           -            266,957          2.6%
  Phones & Service                           13,000          -          13,000           -           13,000           -          13,000           -          13,000                      13,000           -          13,000           91,000          0.9%
  Travel                                     12,000          -             -             -           12,000           -             -             -          12,000           -             -             -          12,000           48,000          0.5%
  IT Expenses                                   -         12,200           -             -            5,000           -             -          12,200           -             -           5,000           -             -             34,400          0.3%
  Dues & Subscriptions                       18,500          500           500           500            500        18,500           500           500           500           500           500           500           500           42,500          0.4%
  DBB Tax Preparation Fee                       -            -             -             -              -             -             -             -             -             -             -             -             -                -            0.0%
  Car Wash                                      -            -           2,000           -              -             -           2,000           -             -             -           2,000           -             -              6,000          0.1%
  Other Expenses                             10,000       10,000        10,000        10,000         10,000        10,000        10,000        10,000        10,000        10,000        10,000        10,000        10,000          130,000          1.3%
Total Operating Cash Disbursements          262,973     1,223,168      193,697      1,319,874       221,875      1,213,622      239,375      1,266,799      249,375      1,195,622      244,375      1,254,599      249,375        9,134,728         89.1%

Operating Cash Flow                         537,027     (423,168)      606,303      (519,874)       578,125      (413,622)      560,625      (491,799)      525,625      (420,622)      530,625      (479,599)      525,625        1,115,272         10.9%

Financing Cash Flows
   Debt Principal                               -            -             -             -              -             -             -             -             -             -             -             -             -                -            0.0%
   Debt Interest                             40,000       40,000        40,000        40,000         40,000        40,000        40,000        40,000        40,000        40,000        40,000        40,000        40,000          520,000          5.1%
   Bank Fees                                    150          150           150           150            150           150           150           150           150           150           150           150           150            1,950          0.0%
Financing Cash Flows                         40,150       40,150        40,150        40,150         40,150        40,150        40,150        40,150        40,150        40,150        40,150        40,150        40,150          521,950          5.1%

Restructuring Cash Flows
  Debtor Counsel                                -         50,000            -             -             -              -         50,000            -             -             -         50,000            -            -            150,000          1.5%
  Debtor CRO                                    -         40,000            -             -             -              -         25,000            -             -             -         25,000            -            -             90,000          0.9%
  Debtor Advisor                                -            -              -             -             -              -            -              -             -             -            -              -            -                -            0.0%
  Board of Directors (2 Individuals)            -          5,000            -             -             -              -          5,000            -             -             -          5,000            -            -             15,000          0.1%
  Secured Lender Counsel                        -         50,000            -             -             -              -         50,000            -             -             -         50,000            -            -            150,000          1.5%
  Committee Counsel                             -         12,500            -             -             -              -         12,500            -             -             -         12,500            -            -             37,500          0.4%
  Special Counsel (Hillair)                 100,000          -              -             -             -              -            -              -             -             -            -              -            -            100,000          1.0%
  Special Counsel (Debtor)                   20,000          -              -             -             -              -            -              -             -             -            -              -            -             20,000          0.2%
  US Trustee Fees                               -            -              -             -         110,510            -            -              -             -             -            -              -        102,488          212,998          2.1%
Restructuring Cash Flows                    120,000      157,500            -             -         110,510            -        142,500            -             -             -        142,500            -        102,488          775,498          7.6%

Net Total Cash Flow In / (Out)              376,877     (620,818)      566,153      (560,024)       427,465      (453,772)      377,975      (531,949)      485,475      (460,772)      347,975      (519,749)      382,987         (182,176)         -1.8%

Ending Cash Balance                       2,454,742     1,833,924     2,400,077     1,840,053      2,267,519     1,813,747     2,191,722     1,659,773     2,145,248     1,684,476     2,032,451     1,512,702     1,895,689


Collateral Package
  Cash on Hand                             2,454,742    1,833,924     2,400,077     1,840,053      2,267,519     1,813,747     2,191,722     1,659,773     2,145,248     1,684,476     2,032,451     1,512,702     1,895,689
  AR                                       3,180,000    3,180,000     3,180,000     3,160,000      3,140,000     3,120,000     3,100,000     3,100,000     3,100,000     3,100,000     3,100,000     3,100,000     3,100,000
  Loan Receivable and Uncategorized Assets 1,654,172    1,654,172     1,654,172     1,654,172      1,654,172     1,654,172     1,654,172     1,654,172     1,654,172     1,654,172     1,654,172     1,654,172     1,654,172
  Fixed Assets                               868,687      868,687       868,687       868,687        868,687       868,687       868,687       868,687       868,687       868,687       868,687       868,687       868,687
  Other Assets                                62,668       62,668        62,668        62,668         62,668        62,668        62,668        62,668        62,668        62,668        62,668        62,668        62,668
Total Collateral                          8,220,269     7,599,451     8,165,604     7,585,580      7,993,046     7,519,274     7,877,249     7,345,300     7,830,775     7,370,003     7,717,978     7,198,229     7,581,216
Estimated Outstanding Secured Loan       11,108,500    11,108,500    11,108,500    11,108,500     11,108,500    11,108,500    11,108,500    11,108,500    11,108,500    11,108,500    11,108,500    11,108,500    11,108,500




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Case 2:19-bk-14989-WB   Doc 503
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                           Exhibit B




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        Case 2:19-bk-14989-WB            Doc 503
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    1   Ashley M. McDow (245114)
        John A. Simon (admitted Pro Hac Vice)
    2   Shane J. Moses (250533)
        FOLEY & LARDNER LLP
    3   555 S. Flower St., 33rd Floor
        Los Angeles, CA 90071
    4   Telephone: 213.972.4500
        Email: amcdow@foley.com
    5          jsimon@foley.com
               smoses@foley.com
    6

    7   Attorneys for Debtors and Debtors in
        Possession, SCOOBEEZ, SCOOBEEZ GLOBAL,
    8   INC., and SCOOBUR, LLC
    9
                                   UNITED STATES BANKRUPTCY COURT
  10
                                    CENTRAL DISTRICT OF CALIFORNIA
  11
                                             LOS ANGELES DIVISION
  12
                                                             Case No. 2:19-bk-14989-WB
  13        In re:                                           Jointly Administered:
                                                             2:19-bk-14991-WB; 2:19-bk-14997-WB
  14        SCOOBEEZ, et al. 1
                                                             Chapter 11
  15                   Debtors and Debtors in Possession.

  16        Affects:                                         ORDER GRANTING CONTINUED USE OF
  17                                                         CASH COLLATERAL THROUGH MARCH
            ■ All Debtors                                    6, 2020, PURSUANT TO THAT CERTAIN
  18                                                         THIRD STIPULATION REGARDING
            □ Scoobeez, ONLY                                 CONTINUED USE OF CASH
  19                                                         COLLATERAL
            □ Scoobeez Global, Inc., ONLY
  20        □ Scoobur LLC, ONLY
  21

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  28      The Debtors and the last four digits of their respective federal taxpayer identification numbers are as
        follows: Scoobeez (6339); Scoobeez Global, Inc. (9779); and Scoobur, LLC (0343). The Debtors’
        address is 3463 Foothill Boulevard, Glendale, California 91214.
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                                          Main Document    Page 31
                                                                 11 of 52
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    1              Scoobeez, Inc., Scoobeez Global, Inc., and Scoobur, LLC, the debtors and debtors-in-possession
    2   in the above captioned jointly administered Chapter 11 bankruptcy cases (collectively, the “Debtors”)
    3   having filed the Emergency Motion for Entry of Interim Order Authorizing Use of Cash Collateral on an
    4   Interim Basis [Docket No. 13] (the “Cash Collateral Motion”);
    5              The Debtors presently have authorization to use cash collateral on an interim basis through
    6   December 6, 2019, pursuant to the Order Granting Continued Use Of Cash Collateral Through
    7   December 6, 2019 Pursuant To That Certain Second Stipulation For (1) Authorization To Use Cash
    8   Collateral; And (2) Appointment Of Chief Restructuring Officer [Docket No. 172], entered on
    9   September 19, 2019 (the “Prior Order”), which approved continued use of cash collateral under that
  10    certain Second Stipulation for (1) Authorization to Use Cash Collateral; and (2) Appointment of Chief
  11    Restructuring Officer [Docket No. 132] (the “Second Stipulation”) entered into by and among Hillair
  12    Capital Management LLC and Hillair Capital Advisors LLC, the general partner of Hillair Capital
  13    Investments LP (collectively, “Hillair”), the Debtors, and the Official Committee of Unsecured
  14    Creditors (the “Committee”), which was approved by this Court pursuant to that certain Order
  15    Approving Second Stipulation for (1) Authorization to Use Cash Collateral; and (2) Appointment of a
  16    Chief Restructuring Officer [Docket No. 135].
  17               The Debtors seek continued use of cash collateral on an interim basis as set forth in their Third
  18    Stipulation Regarding Continued Use of Cash Collateral [Docket No. [___]] (the “Third Stipulation”).
  19    The Court having considered the Cash Collateral Motion, the Second Stipulation, the Third Stipulation,
  20    all oppositions and other supplemental papers filed with respect to the continued use of cash collateral,
  21    and good cause appearing therefor, the Court makes the following findings:
  22               A.     The Debtors, the Committee, and Hillair support the Debtors’ continued use of cash
  23    collateral on an interim basis.
  24               B.     There are no defaults under the terms of the Second Stipulation, the Prior Order, or any
  25    previous stipulation or order authorizing the Debtors’ use of cash collateral.
  26               C.     The express written consent of Hillair under Paragraph 3.4(c) of the Second Stipulation
  27    for the use of cash collateral for the payment of any insider of the Debtor or any management person or
  28    entity retained by the Debtors’ or the Debtors’ estate is as provided for in the Budget (as defined in the


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4831-9136-2734.2
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                                          Main Document    Page 32
                                                                 12 of 52
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    1   Third Stipulation and as attached to this order (the “Order”)).
    2              NOW, THEREFORE, IT IS HEREBY ORDERED THAT:
    3              1.     The Debtors’ authorization to use cash collateral on a further interim basis pursuant to the
    4   terms of the Second Stipulation is approved subject to the modifications set forth in this Order.
    5              2.     The term during which the Debtors are authorized to use cash collateral, as set forth in
    6   Paragraph 14.1(a) of the Second Stipulation, is hereby extended through March 6, 2020.
    7              3.     The Budget as defined and referenced in Paragraph 3.3(a) of the Second Stipulation and
    8   attached as Exhibit B to the Second Stipulation is hereby superseded by the budget attached hereto as
    9   Exhibit A for the period from December 7 through March 6, 2019.
  10               4.      Paragraph 12.1 of the Second Stipulation is hereby modified to add the following events
  11    of default:
  12               (k)    The composition of the Board of Directors of any of the Debtors is altered or any
  13               previous action to alter the composition of any such Board is determined to be valid such that
  14               Messrs. Weiss, Grobstein and Harrow no longer serve as the sole Directors of the Debtors.
  15               (l)    The Debtors’ agreements with Amazon are terminated or Amazon is given relief from the
  16               automatic stay to effectuate its termination rights.
  17               (m)    Any chapter 11 plan of reorganization or liquidation is filed by the Debtors or any other
  18               third-party and Hillair does not consent to such plan.
  19               5.     The hearing on the Debtors’ Emergency Motion for Entry of Interim Order Authorizing
  20    Use of Cash Collateral on an Interim Basis [Docket No. 13] (the “Motion”) shall be continued to March
  21    5, 2020, at 10:00 a.m. in the above-captioned court.
  22               6.     Supplemental briefs in support of the Motion and continued use of cash collateral shall be
  23    filed and served by no later than February 20, 2020.
  24               7.     Supplemental responses in opposition to the motion and continued use of cash collateral
  25    shall be filed and served by no later than February 27, 2020.
  26                                                          # # #
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                                                              13 of 52
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                                             PROOF OF SERVICE OF DOCUMENT

I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
Foley & Lardner LLP, 555 South Flower Street, Suite 3300, Los Angeles, CA 90072-2411

A true and correct copy of the foregoing document entitled (specify): THIRD STIPULATION REGARDING
CONTINUED USE OF CASH COLLATERAL will be served or was served (a) on the judge in chambers in the
form and manner required by LBR 5005-2(d); and (b) in the manner stated below:


1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling
General Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the
document. On (date) December 6, 2019, I checked the CM/ECF docket for this bankruptcy case or adversary
proceeding and determined that the following persons are on the Electronic Mail Notice List to receive NEF
transmission at the email addresses stated below:



                                                                                   Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) December 6, 2019, I served the following persons and/or entities at the last known addresses in this
bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the
United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a
declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

Honorable Julia W. Brand
Central District of California
Edward R. Roybal Federal Building and Courthouse
255 E. Temple Street, Suite 1382
Los Angeles, CA 90012




                                                                                  Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state
method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)               ,I
served the following persons and/or entities by personal delivery, overnight mail service, or (for those who
consented in writing to such service method), by facsimile transmission and/or email as follows. Listing the judge
here constitutes a declaration that personal delivery on, or overnight mail to, the judge will be completed no later
than 24 hours after the document is filed.


                                                                                  Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


  12/6/2019                      Karla P. Hernandez                                       /s/ Karla P. Hernandez
  Date                           Printed Name                                             Signature




      This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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                                                                 14 of 52
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1.         TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):
          John-Patrick M Fritz jpf@lnbyb.com, JPF.LNBYB@ecf.inforuptcy.com
          Riebert Sterling Henderson shenderson@gibbsgiden.com
          Vivian Ho BKClaimConfirmation@ftb.ca.gov
          Alvin Mar alvin.mar@usdoj.gov
          Ashley M McDow amcdow@foley.com,
           sgaeta@foley.com;mhebbeln@foley.com;swilson@foley.com;jsimon@foley.com
          Stacey A Miller smiller@tharpe-howell.com
          Kevin H Morse kmorse@clarkhill.com, blambert@clarkhill.com
          Shane J Moses smoses@foley.com
          Akop J Nalbandyan jnalbandyan@LNtriallawyers.com, cbautista@LNtriallawyers.com
          Rejoy Nalkara rejoy.nalkara@americaninfosource.com
          Anthony J Napolitano anapolitano@buchalter.com,
           IFS_filing@buchalter.com;salarcon@buchalter.com
          David L. Neale dln@lnbyb.com
          Aram Ordubegian ordubegian.aram@arentfox.com
          Hamid R Rafatjoo hrafatjoo@raineslaw.com, bclark@raineslaw.com;cwilliams@raineslaw.com
          Gregory M Salvato gsalvato@salvatolawoffices.com,
           calendar@salvatolawoffices.com;jboufadel@salvatolawoffices.com;gsalvato@ecf.inforuptcy.com
          Steven M Spector sspector@buchalter.com, IFS_efiling@buchalter.com;salarcon@buchalter.com
          United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
          Eric K Yaeckel yaeckel@sullivanlawgroupapc.com




         This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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Case 2:19-bk-14989-WB   Doc 503 Filed 12/18/19 Entered 12/18/19 15:31:34   Desc
                        Main Document    Page 35 of 52




                               EXHIBIT 4


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        Case 2:19-bk-14989-WB            Doc 503
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    1   Ashley M. McDow (245114)
        John A. Simon (admitted Pro Hac Vice)
    2   Shane J. Moses (250533)
        FOLEY & LARDNER LLP                                                    FILED & ENTERED
    3   555 S. Flower St., 33rd Floor
        Los Angeles, CA 90071
    4   Telephone: 213.972.4500                                                      DEC 10 2019
        Email: amcdow@foley.com
    5          jsimon@foley.com                                                 CLERK U.S. BANKRUPTCY COURT
               smoses@foley.com                                                 Central District of California
    6                                                                           BY tatum      DEPUTY CLERK


    7   Attorneys for Debtors and Debtors in
        Possession, SCOOBEEZ, SCOOBEEZ GLOBAL,
    8   INC., and SCOOBUR, LLC
    9
                                   UNITED STATES BANKRUPTCY COURT
  10
                                    CENTRAL DISTRICT OF CALIFORNIA
  11
                                             LOS ANGELES DIVISION
  12
                                                              Case No. 2:19-bk-14989-WB
  13        In re:                                            Jointly Administered:
                                                              2:19-bk-14991-WB; 2:19-bk-14997-WB
  14        SCOOBEEZ, et al.1
                                                              Chapter 11
  15                   Debtors and Debtors in Possession.

  16        Affects:                                          ORDER GRANTING CONTINUED USE OF
  17                                                          CASH COLLATERAL THROUGH MARCH
            ■ All Debtors                                     6, 2020, PURSUANT TO THAT CERTAIN
  18                                                          THIRD STIPULATION REGARDING
            □ Scoobeez, ONLY                                  CONTINUED USE OF CASH
  19                                                          COLLATERAL
            □ Scoobeez Global, Inc., ONLY
  20        □ Scoobur LLC, ONLY
  21

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        1
  28      The Debtors and the last four digits of their respective federal taxpayer identification numbers are as
        follows: Scoobeez (6339); Scoobeez Global, Inc. (9779); and Scoobur, LLC (0343). The Debtors’
        address is 3463 Foothill Boulevard, Glendale, California 91214.
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                                                                 2 of
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    1              Scoobeez, Inc., Scoobeez Global, Inc., and Scoobur, LLC, the debtors and debtors-in-possession
    2   in the above captioned jointly administered Chapter 11 bankruptcy cases (collectively, the “Debtors”)
    3   having filed the Emergency Motion for Entry of Interim Order Authorizing Use of Cash Collateral on an
    4   Interim Basis [Docket No. 13] (the “Cash Collateral Motion”);
    5              The Debtors presently have authorization to use cash collateral on an interim basis through
    6   December 6, 2019, pursuant to the Order Granting Continued Use Of Cash Collateral Through
    7   December 6, 2019 Pursuant To That Certain Second Stipulation For (1) Authorization To Use Cash
    8   Collateral; And (2) Appointment Of Chief Restructuring Officer [Docket No. 172], entered on
    9   September 19, 2019 (the “Prior Order”), which approved continued use of cash collateral under that
  10    certain Second Stipulation for (1) Authorization to Use Cash Collateral; and (2) Appointment of Chief
  11    Restructuring Officer [Docket No. 132] (the “Second Stipulation”) entered into by and among Hillair
  12    Capital Management LLC and Hillair Capital Advisors LLC, the general partner of Hillair Capital
  13    Investments LP (collectively, “Hillair”), the Debtors, and the Official Committee of Unsecured
  14    Creditors (the “Committee”), which was approved by this Court pursuant to that certain Order
  15    Approving Second Stipulation for (1) Authorization to Use Cash Collateral; and (2) Appointment of a
  16    Chief Restructuring Officer [Docket No. 135].
  17               The Debtors seek continued use of cash collateral on an interim basis as set forth in their Third
  18    Stipulation Regarding Continued Use of Cash Collateral [Docket No. [486]] (the “Third Stipulation”).
  19    The Court having considered the Cash Collateral Motion, the Second Stipulation, the Third Stipulation,
  20    all oppositions and other supplemental papers filed with respect to the continued use of cash collateral,
  21    and good cause appearing therefor, the Court makes the following findings:
  22               A.     The Debtors, the Committee, and Hillair support the Debtors’ continued use of cash
  23    collateral on an interim basis.
  24               B.     There are no defaults under the terms of the Second Stipulation, the Prior Order, or any
  25    previous stipulation or order authorizing the Debtors’ use of cash collateral.
  26               C.     The express written consent of Hillair under Paragraph 3.4(c) of the Second Stipulation
  27    for the use of cash collateral for the payment of any insider of the Debtor or any management person or
  28    entity retained by the Debtors’ or the Debtors’ estate is as provided for in the Budget (as defined in the

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    1   Third Stipulation and as attached to this order (the “Order”)).
    2              NOW, THEREFORE, IT IS HEREBY ORDERED THAT:
    3              1.     The Debtors’ authorization to use cash collateral on a further interim basis pursuant to the
    4   terms of the Second Stipulation is approved subject to the modifications set forth in this Order.
    5              2.     The term during which the Debtors are authorized to use cash collateral, as set forth in
    6   Paragraph 14.1(a) of the Second Stipulation, is hereby extended through March 6, 2020.
    7              3.     The Budget as defined and referenced in Paragraph 3.3(a) of the Second Stipulation and
    8   attached as Exhibit B to the Second Stipulation is hereby superseded by the budget attached hereto as
    9   Exhibit A for the period from December 7 through March 6, 2019.
  10               4.      Paragraph 12.1 of the Second Stipulation is hereby modified to add the following events
  11    of default:
  12               (k)    The composition of the Board of Directors of any of the Debtors is altered or any
  13               previous action to alter the composition of any such Board is determined to be valid such that
  14               Messrs. Weiss, Grobstein and Harrow no longer serve as the sole Directors of the Debtors.
  15               (l)    The Debtors’ agreements with Amazon are terminated or Amazon is given relief from the
  16               automatic stay to effectuate its termination rights.
  17               (m)    Any chapter 11 plan of reorganization or liquidation is filed by the Debtors or any other
  18               third-party and Hillair does not consent to such plan.
  19               5.     The hearing on the Debtors’ Emergency Motion for Entry of Interim Order Authorizing
  20    Use of Cash Collateral on an Interim Basis [Docket No. 13] (the “Motion”) shall be continued to March
  21    5, 2020, at 10:00 a.m. in the above-captioned court.
  22               6.     Supplemental briefs in support of the Motion and continued use of cash collateral shall be
  23    filed and served by no later than February 20, 2020.
  24

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                                                                   ORDER FOR CONTINUED USE OF CASH COLLATERAL
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    1              7.   Supplemental responses in opposition to the motion and continued use of cash collateral
    2   shall be filed and served by no later than February 27, 2020.
    3                                                     # # #
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  24           Date: December 10, 2019

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                                                              ORDER FOR CONTINUED USE OF CASH COLLATERAL
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                                                                                                            5 of
                                                                                                              of552
Cash Forecast through 3/6/2020

                   Forecast Week No.               1             2             3             4             5             6             7             8             9            10            11            12           13
                                            Forecast      Forecast      Forecast      Forecast      Forecast      Forecast      Forecast      Forecast      Forecast      Forecast      Forecast      Forecast      Forecast                    Percent of
                        Week Ended       12/13/2019    12/20/2019    12/27/2019      1/3/2020     1/10/2020     1/17/2020     1/24/2020     1/31/2020      2/7/2020     2/14/2020     2/21/2020     2/28/2020      3/6/2020    Total Forecast   Collections
   Invoiced                                 800,000       800,000       800,000      775,000        775,000       775,000       775,000       775,000      775,000        775,000       775,000       775,000      775,000       10,150,000
   Routes
Total Invoices                              800,000      800,000       800,000       775,000       775,000       775,000       775,000       775,000       775,000       775,000       775,000       775,000       775,000       10,150,000

Beginning Cash                            2,077,865     2,454,742     1,833,924     2,400,077     1,840,053     2,267,519     1,813,747     2,191,722     1,659,773     2,145,248     1,684,476     2,032,451     1,512,702

Collections                                 800,000      800,000       800,000       800,000       800,000       800,000       800,000       775,000       775,000       775,000       775,000       775,000       775,000       10,250,000        100.0%

Cash Disbursements:
  Fuel                                       56,000       56,000        56,000        55,000        55,000        55,000        55,000        55,000        55,000        55,000        55,000        55,000        55,000          718,000          7.0%
  Payroll & Payroll Expenses                 10,000      930,000        10,000       930,000        10,000       900,000        10,000       900,000        10,000       900,000        10,000       900,000        10,000        5,530,000         54.0%
  Executive Compensation                        -         32,500           -          32,500           -             -          32,500           -          32,500           -          32,500                      32,500          195,000          1.9%
  Vehicle - Hertz (3)                        95,197       95,197        95,197       109,375       109,375       109,375       109,375       109,375       109,375       109,375       109,375       109,375       109,375        1,379,340         13.5%
  Vehicle - Accidents/Tolls/Citations           -            750           -             750           -          37,500           -             750           -          37,500           -             750           -             78,000          0.8%
  Worker's Compensation                       7,000       86,022         7,000        86,022         7,000        83,247         7,000        83,247         7,000        83,247         7,000        83,247         7,000          554,031          5.4%
  Rent & Utilities                              -            -             -          20,500           -             -             -          20,500           -             -             -          20,500           -             61,500          0.6%
  Insurance                                  41,276          -             -          75,227           -             -             -          75,227           -             -             -          75,227           -            266,957          2.6%
  Phones & Service                           13,000          -          13,000           -          13,000           -          13,000           -          13,000                      13,000           -          13,000           91,000          0.9%
  Travel                                     12,000          -             -             -          12,000           -             -             -          12,000           -             -             -          12,000           48,000          0.5%
  IT Expenses                                   -         12,200           -             -           5,000           -             -          12,200           -             -           5,000           -             -             34,400          0.3%
  Dues & Subscriptions                       18,500          500           500           500           500        18,500           500           500           500           500           500           500           500           42,500          0.4%
  DBB Tax Preparation Fee                       -            -             -             -             -             -             -             -             -             -             -             -             -                -            0.0%
  Car Wash                                      -            -           2,000           -             -             -           2,000           -             -             -           2,000           -             -              6,000          0.1%
  Other Expenses                             10,000       10,000        10,000        10,000        10,000        10,000        10,000        10,000        10,000        10,000        10,000        10,000        10,000          130,000          1.3%
Total Operating Cash Disbursements          262,973     1,223,168      193,697      1,319,874      221,875      1,213,622      239,375      1,266,799      249,375      1,195,622      244,375      1,254,599      249,375        9,134,728         89.1%

Operating Cash Flow                         537,027     (423,168)      606,303      (519,874)      578,125      (413,622)      560,625      (491,799)      525,625      (420,622)      530,625      (479,599)      525,625        1,115,272         10.9%

Financing Cash Flows
   Debt Principal                               -            -             -             -             -             -             -             -             -             -             -             -             -                -            0.0%
   Debt Interest                             40,000       40,000        40,000        40,000        40,000        40,000        40,000        40,000        40,000        40,000        40,000        40,000        40,000          520,000          5.1%
   Bank Fees                                    150          150           150           150           150           150           150           150           150           150           150           150           150            1,950          0.0%
Financing Cash Flows                         40,150       40,150        40,150        40,150        40,150        40,150        40,150        40,150        40,150        40,150        40,150        40,150        40,150          521,950          5.1%

Restructuring Cash Flows
  Debtor Counsel                                -         50,000            -             -            -              -         50,000            -             -             -         50,000            -            -            150,000          1.5%
  Debtor CRO                                    -         40,000            -             -            -              -         25,000            -             -             -         25,000            -            -             90,000          0.9%
  Debtor Advisor                                -            -              -             -            -              -            -              -             -             -            -              -            -                -            0.0%
  Board of Directors (2 Individuals)            -          5,000            -             -            -              -          5,000            -             -             -          5,000            -            -             15,000          0.1%
  Secured Lender Counsel                        -         50,000            -             -            -              -         50,000            -             -             -         50,000            -            -            150,000          1.5%
  Committee Counsel                             -         12,500            -             -            -              -         12,500            -             -             -         12,500            -            -             37,500          0.4%
  Special Counsel (Hillair)                 100,000          -              -             -            -              -            -              -             -             -            -              -            -            100,000          1.0%
  Special Counsel (Debtor)                   20,000          -              -             -            -              -            -              -             -             -            -              -            -             20,000          0.2%
  US Trustee Fees                               -            -              -             -        110,510            -            -              -             -             -            -              -        102,488          212,998          2.1%
Restructuring Cash Flows                    120,000      157,500            -             -        110,510            -        142,500            -             -             -        142,500            -        102,488          775,498          7.6%

Net Total Cash Flow In / (Out)              376,877     (620,818)      566,153      (560,024)      427,465      (453,772)      377,975      (531,949)      485,475      (460,772)      347,975      (519,749)      382,987         (182,176)         -1.8%

Ending Cash Balance                       2,454,742     1,833,924     2,400,077     1,840,053     2,267,519     1,813,747     2,191,722     1,659,773     2,145,248     1,684,476     2,032,451     1,512,702     1,895,689


Collateral Package
  Cash on Hand                             2,454,742    1,833,924     2,400,077     1,840,053     2,267,519     1,813,747     2,191,722     1,659,773     2,145,248     1,684,476     2,032,451     1,512,702     1,895,689
  AR                                       3,180,000    3,180,000     3,180,000     3,160,000     3,140,000     3,120,000     3,100,000     3,100,000     3,100,000     3,100,000     3,100,000     3,100,000     3,100,000
  Loan Receivable and Uncategorized Assets 1,654,172    1,654,172     1,654,172     1,654,172     1,654,172     1,654,172     1,654,172     1,654,172     1,654,172     1,654,172     1,654,172     1,654,172     1,654,172
  Fixed Assets                               868,687      868,687       868,687       868,687       868,687       868,687       868,687       868,687       868,687       868,687       868,687       868,687       868,687
  Other Assets                                62,668       62,668        62,668        62,668        62,668        62,668        62,668        62,668        62,668        62,668        62,668        62,668        62,668
Total Collateral                          8,220,269     7,599,451     8,165,604     7,585,580     7,993,046     7,519,274     7,877,249     7,345,300     7,830,775     7,370,003     7,717,978     7,198,229     7,581,216
Estimated Outstanding Secured Loan       11,108,500    11,108,500    11,108,500    11,108,500    11,108,500    11,108,500    11,108,500    11,108,500    11,108,500    11,108,500    11,108,500    11,108,500    11,108,500




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Case 2:19-bk-14989-WB   Doc 503 Filed 12/18/19 Entered 12/18/19 15:31:34   Desc
                        Main Document    Page 41 of 52




                               EXHIBIT 5


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Case 2:19-bk-14989-WB
Case 2:19-bk-14989-WB       Doc 135
                            Doc 503 Filed
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                            Main Document     Page  42
                              Main Document Page 1 of 2of 52


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  8                           UNITED STATES BANKRUPTCY COURT

  9                            CENTRAL DISTRICT OF CALIFORNIA

 10                                   LOS ANGELES DIVISION

 11   In re                                          Lead Case No. 2:19-bk-14989-WB
 12   SCOOBEEZ, INC., a California                   Chapter 11
      corporation, et al.
 13                                                  Jointly administered with Case Nos. 2:19-bk-
                        Debtors and Debtors in       14991-WB and 2:19-bk-14997-WB)
 14                     Possession.
                                                     ORDER APPROVING SECOND
 15                                                  STIPULATION FOR
                                                     (1) AUTHORIZATION TO USE
 16   Affects:                                       CASH COLLATERAL; AND
                                                     (2) APPOINTMENT OF CHIEF
 17           All Debtors                            RESTRUCTURING OFFICER
 18           SCOOBEEZ, INC., only                   Hearing:
              SCOOBEEZ GLOBAL, INC. only             Date:           June 6, 2019
 19
                                                     Time:           10:00 a.m.
 20           SCOOBUR, LLC only                      Place:          U.S. Bankruptcy Court
                                                                     Courtroom 1375
 21                                                                  255 East Temple Street
                                                                     Los Angeles, CA 90012
 22                                                  Judge:          Hon. Julia W. Brand
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Case 2:19-bk-14989-WB
     2:19-bk-14989-WB        Doc
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                             Main Document     Page  43
                               Main Document Page 2 of 2of 52


  1           Having reviewed the Second Stipulation for (1) Authorization to Use Cash Collateral; and
  2   (2) Appointment of Chief Restructuring Officer [Docket No. 132] (the “Stipulation”) entered into
  3   by and between Hillair Capital Management LLC and Hillair Capital Advisors LLC, the general
  4   partner of Hillair Capital Investments LP (collectively, “Hillair”), Scoobeez, Inc., a California
  5   corporation, debtor in the above-captioned chapter 11 bankruptcy case (“Scoobeez”), and its
  6   affiliated debtors, Scoobeez Global, Inc., an Idaho corporation (formerly known as ABT
  7   Holdings, Inc.) (“Scoobeez Global”) and Scoobur, LLC, a California limited liability company
  8   (“Scoobur”) (collectively, the “Debtors”), and the Official Committee of Unsecured Creditors
  9   (the “Committee”), and good cause appearing therefor:
 10           IT IS HEREBY ORDERED THAT:
 11           1.      The Stipulation is approved.
 12           2.      The hearing on the Debtors’ Emergency Motion for Entry of Interim Order
 13   Authorizing Use of Cash Collateral on an Interim Basis [Docket No. 13] (the “Motion”) shall be
 14   continued to June 27, 2019 at 10:00 a.m. 2:00 p.m. in the above-captioned court.
 15           3.      Supplemental briefs in support of the Motion and continued use of cash collateral
 16   shall be filed and served by no later than June 20, 2019.
 17           4.      Supplemental responses in opposition to the motion and continued use of cash
 18   collateral shall be filed and served by no later than June 25, 2019.
 19                                                  # # #
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 24 Date: June 7, 2019

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Case 2:19-bk-14989-WB   Doc 503 Filed 12/18/19 Entered 12/18/19 15:31:34   Desc
                        Main Document    Page 44 of 52




                               EXHIBIT 6


                                                                       000043
Case 2:19-bk-14989-WB             Doc 503 Filed 12/18/19 Entered 12/18/19 15:31:34                       Desc
                                  Main Document    Page 45 of 52



                                  By-Laws of Abot Mining Co.
ARTICLE I                 OFFICES
The principal office of the corporation will be located at:

ARTICLE II                SHAREHOLDERS

SECTION 1:       ANNUAL MEETINGS
The annual meeting of the shareholders will be held on the First day of July in each year, beginning with
the year, at the hour of 3:00 o’clock p.m. for the purpose of electing Directors and for the transaction of
such other business as may come before the meeting.

If the day fixed for the annual meeting is a legal holiday in the State of Idaho, such meeting will be held on
the next succeeding business day. If the election of Directors is not be held on the day designated herein
for any annual meeting of the shareholders, or at any adjournment thereof, the Board of Directors will cause
the election to be held at a special meeting of the shareholders as soon thereafter as conveniently may be.

SECTION 2:       SPECIAL MEETINGS
Special meetings of the shareholders, for any purpose or purposes, unless otherwise prescribed by statute,
may be called by the Chief Executive Officer or by the Board of Directors and must be called by the Chief
Executive Officer at the request of the holders if not less than one-tenth of all the outstanding shares of the
corporation entitled to vote are at the meeting.

SECTION 3        PLACE OF MEETING
The Board of Directors may designate any place, either within or without the State of Idaho as the place
of meeting for any annual or special meeting of shareholders. If no designation is made, the place of
meeting will be the principal office of the corporation.

SECTION 4         NOTICE OF MEETING
Written or printed notice stating the place, day and hour of the meeting and, in case of a special meeting,
the purpose or purposes for which the meeting is called, must be delivered not less than ten or more than
fifty days before the date of the meeting, either personally or by mail, by or at the direction of the Chief
Executive Officer, or the Secretary, or the officer or persons calling the meeting, to each shareholder of
record entitled to vote at such meeting. If mailed, such notice will be deemed to be delivered when deposited
in the United States mail, addressed to the shareholder at the Shareholder’s address as it appears on the
stock transfer books of the corporation, with postage thereon prepaid.

SECTION 5         QUORUM
A majority of the outstanding shares of the corporation entitled to vote, represented in person or by proxy,
will constitute a quorum at a meeting of shareholders. If less than a majority of the outstanding shares are
represented at a meeting, a majority of the shares so represented may adjourn the meeting from time to
time without further notice. At such adjourned meeting at which a quorum must be present or represented,
any business may be transacted which might have been transacted at the meeting as originally notified.

SECTION 6        PROXIES
At all meetings of shareholders, a shareholder may vote by proxy executed in writing by the shareholder
or by the Shareholder’s duly authorized attorney in fact. Such proxy must be filed with the Secretary of
the corporation before or at the time of the meeting. No proxy will be valid after eleven months from the
date of its execution, unless otherwise provided in the proxy.

SECTION 7        VOTING OF SHARE
Subject to the provisions of Section 9, each outstanding share entitled to vote will be entitled to one vote
upon each matter submitted to a vote at a meeting of shareholders.




                                                                                                     000044
Case 2:19-bk-14989-WB            Doc 503 Filed 12/18/19 Entered 12/18/19 15:31:34                       Desc
                                 Main Document    Page 46 of 52


SECTION 8        INFORMAL ACTION BY SHAREHOLDER
Any action required to be taken at a meeting of the shareholders, or any other action which may be taken
at a meeting of the shareholders, may be taken without a meeting of a consent in writing, setting forth the
action so taken, must be signed by shareholders owning a majority of the Company’s issued and
outstanding common stock with respect to the subject matter thereof.

ARTICLE III              BOARD OF DIRECTORS

SECTION 1      GENERAL POWERS
The business and affairs of the corporation will be managed by its Board of Directors.

SECTION 2          NUMBER, TENURE, AND QUALIFICATIONS
The number of Directors of the corporation must be at least five but not more than nine. Each director will
hold office until the next annual meeting of shareholders and until the Director’s successor has been elected
and qualified.

SECTION 3         REGULAR MEETINGS
A regular meeting of the Board of Directors will be held without other notice than this by-law immediately
after, and at the same place as, the annual meeting of shareholders. The Board of Directors may provide,
by resolution, the time and place, either within or without the State of Idaho, for the holding of additional
regular meetings without other notice than such resolution.

SECTION 4       SPECIAL MEETINGS
Special meetings of the Board of Directors may be called by or at the request of the Chief Executive Officer
or any two Directors. The person or persons authorized to call special meetings of the Board of Directors
may fix any place either within or without the State of Idaho as the place for holding any special meeting of
the Board of Directors called by them.

SECTION 5       NOTICE
Notice of any special meeting must be given at least four days previously thereto by written notice delivered
personally or mailed to each Director at their customary business address. If mailed, such notice will be
deemed to be delivered when deposited in the United States Mail so addressed, with postage thereon
prepaid. Any Director may waive notice of any meeting. The attendance of a Director at a meeting will
constitute a waiver of notice of such meeting, except where a Director attends a meeting for the express
purpose of objecting to the transaction of any business because the meeting is not lawfully called or
convened. Neither the business to be transacted at, nor the purpose of, any regular or special meeting of
the Board of Directors need be specified in the notice or waiver of notice of such meeting.

SECTION 6        QUORUM
A majority of the number of Directors fixed by Section 2 of this Article III will constitute a quorum for the
transaction of business at any meeting of the Board of Directors, but if less than such majority is present at
a meeting, a majority of the Directors present may adjourn the meeting from time to time without further
notice.

SECTION 7       MANNER OF ACTING
The act of the majority of the Directors present at a meeting at which a quorum is present will be the act of
the Board of Directors.

SECTION 8         VACANCIES
Any vacancy occurring in the Board of Directors may be filled by the affirmative vote of a majority of the
remaining Directors though less than a quorum of the Board of Directors. A Director elected to fill a vacancy
will be elected for the unexpired term of the predecessor in office.

SECTION 9        COMPENSATION
By resolution of the Board of Directors, the Directors may be paid their expenses, if any, for attendance at
each meeting of the Board of Directors, and may be paid a fixed sum for attendance at each meeting of the




                                                                                                    000045
Case 2:19-bk-14989-WB            Doc 503 Filed 12/18/19 Entered 12/18/19 15:31:34                        Desc
                                 Main Document    Page 47 of 52


Board of Directors. No such payment may preclude any director from serving the corporation in any other
capacity and receiving compensation therefore.

SECTION 10 PRESUMPTION OF ASSENT
A Director of the corporation who is present at a meeting of the Board of Directors, at which action on any
corporate matter is presumed to assent to the action taken unless the Director’s dissent will be entered in
the minutes, of the meeting or unless the Director will file a written dissent to such action with the person
acting as the Secretary of the meeting before the adjournment thereof, or will forward such dissent by
registered mail to the Secretary of the corporation immediately after the adjournment of the meeting. Such
right to dissent will not apply to a Director who voted in favor of such action.

SECTION 11 EXECUTIVE COMMITTEE
The Board of Directors, by resolution adopted by the majority of the Directors fixed by the by-laws, may
designate a committee of not less than two Directors which committee, in absence of a resolution of the
Board of Directors limiting or restricting its authority will have and may exercise all of the authority of the
Board of Directors in the management of all business and affairs of the corporation, except the Executive
Committee may not fill vacancies in the Board of Directors or amend these by-laws. The Board of Directors
may at any time remove any member of the Executive Committee with or without cause and may terminate
or in any way in its sole discretion limit or restrict the authority of the Executive Committee. The Committee
will keep a record of its proceedings and report such proceedings to the Board of Directors.

ARTICLE IV               OFFICERS

SECTION 1          NUMBER
The officers of the corporation will be a Chief Executive Officer, one or more Vice Presidents (the number
thereof, if any, to be determined by the Board of Directors), a Secretary, and a Chief Financial Officer, each
of who will be elected by the Board of Directors. Any officers may be held by the same person, including
the offices of Chief Executive Officer and Secretary.

SECTION 2          ELECTION AND TERM OF OFFICE
The officers of the corporation to be elected by the Board of Directors will be elected annually by the Board
of Directors at the first meeting of the Board of Directors held after each annual meeting of the shareholders.
If the election of officers is not held at such meeting, such election will be held as soon thereafter as
conveniently may be. Each officer will hold office until a successor has been duly elected and qualified or
until the Officer’s death or until the Officer has resign or has been removed in the manner
hereinafter provided.

SECTION 3       REMOVAL
Any officer or agent elected or appointed by the Board of Directors may be removed by the Board of
Directors, whenever in its judgment the best interests of the corporation would be served thereby, but such
removal will be without prejudice to the contract rights, if any, of the person so removed. Election or
appointment of an officer or agent will not of itself create contract rights.

SECTION 4       VACANCIES
A vacancy in any office because of death, resignation, removal, disqualification or otherwise, may be filled
by the Board of Directors for the unexpired portion of the term.

SECTION 5        CHIEF EXECUTIVE OFFICER
The Chief Executive Officer will be the principal executive officer of the corporation and, subject to the
control of the Board of Directors, will in general supervise and control all of the business and affairs of the
corporation. The Chief Executive Officer, when present, will preside at all meetings of the shareholders and
of the Board of Directors. The Chief Executive Officer may sign, with the Secretary or any other proper
officer of the corporation thereunto authorized by the Board of Directors, certificates for shares of the
corporation, and in general perform all duties incident to the office of Chief Executive Officer and such other
duties as may be prescribed by the Board of Directors from time to time.




                                                                                                     000046
Case 2:19-bk-14989-WB            Doc 503 Filed 12/18/19 Entered 12/18/19 15:31:34                        Desc
                                 Main Document    Page 48 of 52


SECTION 6         THE VICE PRESIDENT
In the absence of the Chief Executive Officer or in the event of the Chief Executive Officer’s death, inability
or refusal to act, the Vice President (or in the event there be more than one Vice President, the Vice
Presidents in the order designated at the time of their election, or in the absence of any designation, then
in the order of their election) perform the duties of the Chief Executive Officer, and when so acting have all
the powers of and be subject to all the restrictions upon the Chief Executive Officer. Any Vice President
may sign, with the Secretary or an Assistant Secretary, certificates for shares of the corporation; and
perform such other duties as from time to time may be assigned to the Vice President by the Chief Executive
Officer or by the Board of Directors.

SECTION 7         THE SECRETARY
The Secretary will: (a) keep the minutes of the shareholders' and of the Board of Directors' meetings in one
or more books provided for the purpose; (b) see that all notices are duly given in accordance with the
provisions of these by-laws or as required by law; (c) be custodian of the corporate records and of the seal
of the corporation and see that the seal of which on behalf of the corporation under its seal is duly
authorized; (d) keep a register of the post office address of each shareholder furnished to the Secretary by
such shareholder; (e) sign with the Chief Executive Officer, or a Vice President, certificates for shares of
the corporation, the issuance of which has been authorized by resolution of the Board of Directors; (f) have
general charge of the stock transfer books of the corporation; and (g) in general perform all duties incident
to the office of Secretary and such other duties as from time to time may be assigned to the Secretary by
the Chief Executive Officer or by the Board of Directors.

SECTION 8         THE CHIEF FINANCIAL OFFICER
The Chief Financial Officer will (a) have charge and custody of and be responsible for all funds and
securities of the corporation; (b) receive and give receipts for moneys due and payable to the corporation
from any source whatsoever, and deposit all such moneys in the name of the corporation in such banks,
trust companies or other depositaries as selected in accordance with the provisions of Article V of these
by-laws; and (c) in general perform all of the duties incident to the office of the Chief Financial Officer and
such other duties as from time to time may be assigned to the Chief Financial Officer by the Chief Executive
Officer or by the Board of Directors.

SECTION 9        SALARIES
The salaries of the officers will be fixed from time to time by the Board of Directors and no officer may be
prevented from receiving such salary by reason of the fact that the officer is also a Director of the
corporation.

ARTICLE V                CONTRACTS, LOANS, CHECKS, AND DEPOSITS

SECTION 1       CONTRACTS
The Board of Directors may authorize any officer or officers, agent or agents, to enter into any contract, to
execute and deliver any instrument in the name of and on behalf of the corporation, and such authority may
be general or confined to specific instances.

SECTION 2        LOANS
No loans may be contracted on behalf of the corporation and no evidences of indebtedness may be
issued in its name unless authorized by a resolution of the Board of Directors. Such authority may be
general or confined to specific instances.

SECTION 3        CHECKS, DRAFTS, ETC.
All checks, drafts, or other orders for the payment of money, notes or other evidences of indebtedness
issued in the name of the corporation must be signed by such officer or officers, agent or agents, of the
corporation and in such manner as from time to time determined by resolution of the Board of Directors.

SECTION 4        DEPOSITS
All funds of the corporation not otherwise employed will be deposited from time to time to the credit of the
corporation in such banks, trust companies or other depositaries as the Board of Directors may select.




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Case 2:19-bk-14989-WB            Doc 503 Filed 12/18/19 Entered 12/18/19 15:31:34                       Desc
                                 Main Document    Page 49 of 52



ARTICLE VI               CERTIFICATES FOR SHARES AND THEIR TRANSFER

SECTION 1         CERTIFICATES FOR SHARES
Certificates representing shares of the corporation will be in such form as determined by the Board of
Directors. Such certificates will be signed by the Chief Executive Officer or a Vice President and by the
Secretary or an Assistant Secretary. All certificates for shares will be consecutively numbered or otherwise
identified. The name and address of the person to whom the shares represented thereby are issued, with
the number of shares and date of issue, will be entered on the stock transfer books of the corporation. All
certificates surrendered to the corporation for transfer will be canceled and no certificates will be issued
until the former certificate for a like number of shares has been surrendered and canceled, except that in
case of a lost, destroyed or mutilated certificate, a new one may be issued therefore upon such terms and
indemnity to the corporation as the Board of Directors may prescribe.

SECTION 2        TRANSFER OF SHARES
Transfer of shares of the corporation will be made only on the stock transfer books of the corporation by
the holder of record thereof or by a legal representative, who must furnish proper evidence of authority to
transfer, or by an attorney thereunto authorized by power of attorney duly executed and filed with the
Secretary of the corporation, and on surrender for cancellation of the certificate for such shares. The person
in whose name shares stand on the books of the corporation will be deemed by the corporation to be the
owner thereof for all purposes.

ARTICLE VII               FISCAL YEAR
The fiscal year of the corporation will begin on the first day of January and end on the 31st day of December.

ARTICLE VIII            DIVIDENDS
The Board of Directors may from time to time declare, and the corporation may pay, dividends on its
outstanding shares in the manner and upon the terms and conditions provided by law.

ARTICLE IX              SEAL
The Board of Directors may provide a corporate seal which will be circular in form and have inscribed
thereon the name of the corporation and conditions provided by law.

ARTICLE X                WAIVER OF NOTICE
Whenever any notice is required to be given to any shareholder or director of the corporation under the
provisions of these by-laws or under the provisions of the articles of incorporation or under the provisions
of the laws of the State of Idaho, a waiver thereof in writing, signed by the person or persons entitled to
such notice, whether before or after the time stated therein, will be deemed equivalent to the giving of such
notice.

ARTICLE XI               AMENDMENTS
These by-laws may be altered, amended or repealed and new by-laws may be adopted by majority vote of
the Board of Directors at any regular of special meeting of the Board of Directors, or by a majority vote of
the outstanding shares. The foregoing initial by-laws of the corporation were adopted by the Board of
Directors on this day ___________




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Case 2:19-bk-14989-WB   Doc 503 Filed 12/18/19 Entered 12/18/19 15:31:34   Desc
                        Main Document    Page 50 of 52
Case 2:19-bk-14989-WB     Doc 503 Filed 12/18/19 Entered 12/18/19 15:31:34          Desc
                          Main Document    Page 51 of 52

                                              NEF LIST
   1
   2     •   Richard T Baum rickbaum@hotmail.com, rickbaum@ecf.inforuptcy.com
         •   Bradley E Brook bbrook@bbrooklaw.com,
   3         paulo@bbrooklaw.com;brookecfmail@gmail.com
         •   Richard W Esterkin richard.esterkin@morganlewis.com
   4     •   John-Patrick M Fritz jpf@lnbyb.com, JPF.LNBYB@ecf.inforuptcy.com
         •   Riebert Sterling Henderson shenderson@gibbsgiden.com
   5
         •   Vivian Ho BKClaimConfirmation@ftb.ca.gov
   6     •   Dare Law dare.law@usdoj.gov
         •   Ashley M McDow amcdow@foley.com,
   7         sgaeta@foley.com;mhebbeln@foley.com;swilson@foley.com;jsimon@foley.com
         •   Stacey A Miller smiller@tharpe-howell.com
   8     •   Kevin H Morse kmorse@clarkhill.com, blambert@clarkhill.com
   9     •   Shane J Moses smoses@foley.com
         •   Akop J Nalbandyan jnalbandyan@LNtriallawyers.com,
  10         cbautista@LNtriallawyers.com
         •   Rejoy Nalkara rejoy.nalkara@americaninfosource.com
  11     •   Anthony J Napolitano anapolitano@buchalter.com,
             IFS_filing@buchalter.com;salarcon@buchalter.com
  12     •   Jennifer L Nassiri jennifernassiri@quinnemanuel.com
  13     •   David L. Neale dln@lnbyb.com
         •   Aram Ordubegian ordubegian.aram@arentfox.com
  14     •   Hamid R Rafatjoo hrafatjoo@raineslaw.com,
             bclark@raineslaw.com;cwilliams@raineslaw.com
  15     •   Gregory M Salvato gsalvato@salvatolawoffices.com,
             calendar@salvatolawoffices.com;jboufadel@salvatolawoffices.com;gsalvato@ecf.inforupt
  16
             cy.com
  17     •   Jeffrey S Shinbrot jeffrey@shinbrotfirm.com, sandra@shinbrotfirm.com
         •   Steven M Spector sspector@buchalter.com,
  18         IFS_efiling@buchalter.com;salarcon@buchalter.com
         •   United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
  19     •   Kimberly Walsh bk-kwalsh@texasattorneygeneral.gov
         •   Eric D Winston ericwinston@quinnemanuel.com
  20
         •   Eric K Yaeckel yaeckel@sullivanlawgroupapc.com
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Case 2:19-bk-14989-WB    Doc 503 Filed 12/18/19 Entered 12/18/19 15:31:34   Desc
                         Main Document    Page 52 of 52

                                          REGULAR MAIL LIST
   1
   2        RICHARD T. BAUM
            State Bar No. 80889
   3        11500 West Olympic Boulevard, Suite 400
            Los Angeles, California 90064
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